ee eccmcmmmmmmmnereeymmmmnmmmmremmrene
Case 1:06-cr-00154-WWC Document 59 Filed 05/20/11 Page 1 of 2

James Belcher F ILED

13630-067 SCRANTON
P.O. Box 999 MAY 20 2011

Butner N.C. 27509

May 14, 2011 EL

RK

Clerk of Court

United States District Court
P.O. Box 1148

Scranton, PA 18501-1148

Hello ,

I recently sent a copy of my Judgment and Commitment order to the IRS office in Ogden,
Utah for full settlement and closure.

I am requesting information on my case #1:06-cr-00154-WWC, Please send whatever
documentation there is that will verify that my case has been "Settled and Closed" to
me at the above address. If there is no change please verify that status as well.

Thank you in advance for your timely response to this request.

Sincerely

Case 1:06-cr-00154-WWC Document 59 Filed 05/20/11 Page 2 of 2

James BEicued [bb 3006?
| _ Name: Number:
; Low Security Correctional Institution
P.O. Box 999
Buiner, NC 275°"

re ack
Be ee) rani
Se fe eal heat hd

. U.S, POSTAGE
avTN, yo
. mayest '
UNITED STATES AMOU UAT m
Postal SERVICE
1060 18501 $0,00 09 RE

? GN TGA, oon gt a0

yor SSL WS

13630-0679 MAY Ba Iry Ne %
er our | NL
PO BOX 1148 Boh hed
Scranton, PA- 18501 © yen TS oH
United States gpa :
» TE Le eaters : A it vi fe Aldbecetladtae TT tealld I deel

